Dear Auditor Schweich:
This office received your letter of February 7, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Marc Ellinger (version 3a). The fiscal note summary that you submitted is as follows:
  The total cost, savings, and/or change in tax revenue to state and local governmental entities cannot be determined. The proposal (1) requires a range of legislative action with unknown outcomes, and (2) will result in changes to consumer spending patterns that cannot be presently quantified.
Under § 116.175.4, "[t]he attorney general shall . . . approve the legal content and form of the fiscal note summary." You have concluded that you "cannot . . . determine []" the "estimated cost or savings, if any, to state or local governmental entities." The form of the fiscal note summary is approved. In the absence of any case law precedent requiring you to state the measure's estimated costs or savings when you determine that it is not possible to do so, we also approve the legal content of your summary.
                                                         Very truly yours,
                                                         _________________ CHRIS KOSTER Attorney General *Page 1 